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 5
     Attorney for Plaintiff Randall T. Fennell
 6
 7                           IN THE UNITED STATES DISTRICT COURT
 8                                         FOR THE
                                  NORTHERN MARIANA ISLANDS
 9
     RANDALL T. FENNELL,                           )       CASE NO. CV 09-00019
10                                                 )
                            Plaintiff,             )
11                 vs.                             )
                                                   )
12   MATTHEW T. GREGORY, former Attorney )                      PLAINTIFF’S OPPOSITION TO
     General, GREGORY BAKA, Acting Attorney )                   MOTION TO SHORTEN TIME
13   General, ANTHONY WELCH, Assistant Attorney )               RE: MOTION TO INTERVENE
     General, TOM J. SCHWEIGER, Assistant Attorney )
14   General and DOES 1-20, in their official and )
     individual capacities,                        )
15
                            Defendants.            )       Date:          TBD
16                                                 )       Time:          TBD
                                                   )       Judge:         Hon. Alex R. Munson
17
18          On Friday evening, August 28, 2009, the Bank of Saipan, Inc. (“BOS”) filed a Motion to
19   Intervene in the above-captioned action together with “proposed” motions to dismiss or to stay the
20   action and voluminous other documents. By separate ex parte motion, BOS asks for an order
21   shortening time to hear both the Motion to Intervene and the “proposed” motions to dismiss or to
22   stay asking that all of the motions be heard at the same time as Defendants’ Motion to Dismiss filed
23   on July 31, 2009 which is currently scheduled to be heard on September 10, 2009 at 9:00 a.m.
24          Nowhere in BOS’ moving papers, however, does BOS state the reasons why its Motion to
25   Intervene needs to be briefed and heard on an expedited basis. BOS suggests only that all of its
26
27
            Case 1:09-cv-00019 Document 26 Filed 08/31/09 Page 2 of 4




 1   motions should be heard quickly as a matter of “judicial economy,” ignoring Plaintiff’s right to
 2   properly contest intervention if necessary.
 3          Moreover, until BOS is actually allowed to intervene in this action — which intervention
 4   Plaintiff strenuously opposes as there is completely no basis for intervention — the briefing and
 5   hearing on any additional motions is premature.
 6          The issues raised by BOS in its motion to intervene in this civil rights lawsuit are wholly
 7   separate and independent from the First and Fourteenth Amendment claims of Plaintiff against the
 8   attorney general defendants in this lawsuit. If there is going to be a hearing on this Motion to
 9   Intervene,1 Plaintiff should be allowed full time for briefing and preparing for a hearing on the
10   Motion. Then, only after the motion is heard, if at all, should Plaintiff be required to go through the
11   time and expense of briefing and arguing BOS’ “proposed” additional motions that presume
12   intervention will be allowed.
13          Particularly given that BOS has absolutely no interest that could be affected by this lawsuit,
14
     BOS certainly cannot be affected by a regular briefing and hearing schedule. In any case, it is BOS’
15
     burden to show some exigent circumstances warranting shortened time. There is no emergency here.
16
     The motion to shorten time should be denied.
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24          1
               Intervention is governed by Fed. R. Civ. P. 24 and is discretionary. Additionally, no hearing
     need be held here as BOS has no right to intervene and there is no basis for permissive intervention.
25   See, e.g., WRIGHT , A., MILLER, A. AND KANE, M., 7C FEDERAL PRACTICE & PROCEDURE (3D ) § 1914
     (hearing not required if it is clear from the face of the application to intervene that motion must be
26   denied).
27
                                                   Page 2 of 4
     Case 1:09-cv-00019 Document 26 Filed 08/31/09 Page 3 of 4




 1       DATED this 31st day of August, 2009.
 2                                              /s/ Mark B. Hanson
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                                        Page 3 of 4
       Case 1:09-cv-00019 Document 26 Filed 08/31/09 Page 4 of 4




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that the following attorneys were served with a copy of the foregoing
 3   through the Court’s electronic case filing system:
 4
                           Braddock J. Huesman, Assistant Attorney General
 5                         OFFICE OF THE ATTORNEY GENERAL
                           Commonwealth of the Northern Mariana Islands
 6                         Hon. Juan A. Sablan Memorial Bldg., Second Floor
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 9
                           William M. Fitzgerald, Esq.
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16                         Attorneys for Bank of Saipan, Inc.

17
18
                       August 31, 2009                       /s/ Mark B. Hanson
19          DATED: _____________________                     ___________________________

20                                                           MARK B. HANSON

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